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8                   IN THE UNITED STATES DISTRICT COURT
9                 FOR THE EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,     )          CASE NO. 2:07-CR-120 EJG
                                   )
12                  Plaintiff,     )
                                   )
13        v.                       )          STIPULATION AND
                                   )          ORDER TO EXCLUDE TIME
14   DANIEL WACKERMAN, et. al.     )
                                   )
15                                 )
                    Defendant.     )
16   ______________________________)
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18        The United States of America and Defendant Joshua Lane
19   request that the status conference in this case be continued from
20   April 16, 2010 to July 23, 2010 at 10:00 a.m.       They stipulate
21   that the time between April 16, 2010 and July 23, 2010 should be
22   excluded from the calculation of time under the Speedy Trial Act.
23   The parties stipulate that the ends of justice are served by the
24   Court excluding such time, so that counsel for the defendant may
25   have reasonable time necessary for effective preparation, taking
26   into account the exercise of due diligence.       18 U.S.C. §
27   3161(h)(7)(B)(iv) and Local Code T-4.      Specifically, defense
28   counsel is still reviewing discovery and conducting investigation

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1    into this matter.        Additionally, the government is revising its
2    extradition package for the remaining defendants which requires
3    the assistance of agents located in Canada.            The parties
4    stipulate and agree that the interests of justice served by
5    granting this continuance outweigh the best interests of the
6    public and the defendant in a speedy trial.            18 U.S.C. §
7    3161(h)(7)(A).
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9                                                Respectfully Submitted,
10                                               BENJAMIN B. WAGNER
                                                 United States Attorney
11

12   DATE: April 15, 2010                  By:    /s/ Heiko P. Coppola
                                                 HEIKO P. COPPOLA
13                                               Assistant U.S. Attorney
14

15   DATE: April 15, 2010                         /s/ Bruce Locke1
                                                 BRUCE LOCKE
16                                               Attorney for Defendant Joshua
                                                 Lane
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18                 IT IS SO ORDERED.
19   DATE:       April 14, 2010
                                                 /s/ Edward J. Garcia
20                                               HON. EDWARD J. GARCIA
                                                 U.S. District Judge
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             Mr. Locke authorized AUSA Coppola to electronically sign this
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     stipulation and proposed order.

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